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      Sheriff’s Department
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  8                          UNITED STATES DISTRICT COURT
  9         CENTRAL DISTRICT OF CALIFORNIA- EASTERN DIVISION
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 11
      DORA HIGGINS, an individual, and          CASE NO: 5:21-cv-807
 12 VINSON HIGGINS, an individual, as
      conservators for LATESHA DENISE
 13 SMITH,                                      NOTICE OF REMOVAL OF CIVIL
                                                ACTION UNDER 28 U.S.C. §1441(b)
 14                                             (FEDERAL QUESTION
                   Plaintiffs,                  JURISDICTION)
 15
                                                [Removed from San Bernardino County
 16         vs.                                 Superior Court, Case No. CIVSB
                                                2106387
 17
      COUNTY OF SAN BERNARDINO,                 [Civil Case Cover Sheet Filed
 18                                             Concurrently Herewith]
 19                Defendant.
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                  NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                    §1441(a)(FEDERAL QUESTION JURISDICTION
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  1 TO THE CLERK OF THE ABOVE ENTITLED COURT:

  2        PLEASE TAKE NOTICE THAT Defendants County of San Bernardino and
  3 San Bernardino County Sheriff’s Department hereby remove to this Court the state

  4 court action as described below.

  5     1. On February 19, 2021, Plaintiffs Dora Higgins and Vinson Higgins as
  6 individuals and court appointed conservators for Latesha Denise Smith filed their

  7 Complaint in the San Bernardino County Superior Court Case No. CIVSB 2106387

  8 (hereinafter “State Action”). Plaintiff’s Third Cause of Action in the Complaint

  9 asserts violations of Ms. Smith’s constitutional rights under the Fifth, Fourteenth
 10 and Eighth Amendment pursuant to 42 U.S.C. §1983 for alleged deliberate

 11 indifference to Ms. Smith’s medical and mental health care while she was housed at

 12 the West Valley Detention Center and for the alleged use of excessive force on Ms.

 13 Smith. Specifically, Plaintiffs claim that pepper spray was used on Ms. Smith

 14 during a March 2019 incident and that due to the lack of medical and mental health

 15 care provided to Ms. Smith she attempted suicide on April 10, 2019. Because the

 16 Complaint asserts claims arising under 42 U.S.C. §1983 and the Fifth, Fourteenth,

 17 and Eighth Amendments to the Constitution, federal question jurisdiction is proper.

 18 This Court has original jurisdiction under 28 U.S.C. §1331.

 19     2. Further, Plaintiffs’ First and Second Causes of Action for Negligence and
 20 Battery under California law are based on the same March 2019 pepper spray

 21 incident and April 10, 2019 suicide attempt and therefore arise out of the same

 22 common nucleus of operative fact. These state law causes of action are removable

 23 under the Court’s supplemental jurisdiction pursuant to 28 U.S.C. §1367. See,

 24 Brady v. Brown, 51 F.3d 810, 816 (9th Cir. 1995) (“Pendent jurisdiction over state

 25 claims exists when the federal claim is sufficiently substantial to confer federal

 26 jurisdiction, and there is ‘a common nucleus of operative fact between the state and

 27 federal claims…. The decision to retain jurisdiction over state law claims is within

 28 the district court’s discretion, weighing factors such as economy, convenience,
                                                2
                NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                  §1441(a)(FEDERAL QUESTION JURISDICTION
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  1 fairness, and comity.”) (internal citations omitted).

  2     3. The Summons and Complaint for the County of San Bernardino and the San
  3 Bernardino County Sheriff’s Department was served on the Clerk of the Board for

  4 the County of San Bernardino on April 8, 2021. This Notice of Removal is

  5 therefore timely as it is being made within thirty days of these Defendants being

  6 served on April 8, 2021. See, 28 U.S.C. §1446 (b)(2)(B).

  7     4. Defendants County of San Bernardino and San Bernardino County Sheriff’s
  8 Department are the only named Defendants. As such, all served Defendants join

  9 and consent to removal. See, 28 U.S.C. §1446(b)(2)(A).
 10     5. A copy of this Notice of Removal will be filed with the Superior Court of the
 11 State of California for the County of San Bernardino and served upon all adverse

 12 parties as required by 28 U.S.C. § 1446(d).

 13     6. Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, orders, and
 14 other papers or exhibits of every kind filed and/or served on Defendants are attached

 15 here, as follows:

 16               • Exhibit A- Summons
 17               • Exhibit B- Certificate of Assignment
 18               • Exhibit C- Civil Cover Case Sheet
 19               • Exhibit D- Complaint
 20               • Exhibit E- Notice of Trial Setting Conference
 21

 22    7. Additionally, and pursuant to Central District Local Rule 3.1, a completed
 23 Civil Case Cover Sheet has been filed with the Court.

 24        WHEREFORE, Defendants respectfully request that this civil action be
 25 removed from the Superior Court of the State of California for the County of San

 26 Bernardino to the above-entitled court. Should the Court be inclined to remand this

 27 action, Defendants respectfully request the Court first issue an order to show cause

 28 as to why the case should not be remanded, as an order remanding a case to state
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  1 court is not reviewable. See, 28 U.S.C. § 1447(d). Such an order would permit

  2 Defendants the ability to cure any technical defect in this Notice of Removal and to

  3 submit additional evidence and/or arguments as the Court may request in support of

  4 removal of the state court action to the Federal District Court for the Central District

  5 of California – Eastern Division.

  6

  7 DATED: May 6, 2021                         Respectfully submitted,
                                               LYNBERG & WATKINS
  8                                            A Professional Corporation
  9
 10                                      By:
                                               SHANNON L. GUSTAFSON
 11                                            Attorneys for Defendant
                                               County of San Bernardino and San
 12                                            Bernardino County Sheriff’s Department
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                      NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
                        §1441(a)(FEDERAL QUESTION JURISDICTION
